Case 1:18-cv-01434-CFC-JLH Document 238 Filed 05/04/21 Page 1 of 7 PageID #: 13069




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  CHROMADEX, INC. and TRUSTEES )
  OF DARTMOUTH COLLEGE,        )
                               )            REDACTED PUBLIC VERSION
               Plaintiffs,     )
                               )            C.A. No. 18-1434-CFC
      v.                       )
                               )
  ELYSIUM HEALTH, INC.,        )
                               )
               Defendant.      )
                               )

               ELYSIUM’S OPENING BRIEF IN SUPPORT OF ITS
            MOTION FOR SUMMARY JUDGMENT (NO. 4) REGARDING
                 ALL CLAIMS ASSERTED BY CHROMADEX



   Of Counsel:                                ASHBY & GEDDES
                                              Steven J. Balick (#2114)
   Donald R. Ware
                                              Andrew C. Mayo (#5207)
   dware@foleyhoag.com
                                              500 Delaware Avenue, 8th Floor
   Jeremy A. Younkin
                                              P.O. Box 1150
   jyounkin@foleyhoag.com
                                              Wilmington, DE 19899
   Marco J. Quina
                                              (302) 654-1888
   mquina@foleyhoag.com
                                              sbalick@ashbygeddes.com
   FOLEY HOAG LLP
                                              amayo@ashbygeddes.com
   155 Seaport Boulevard
   Boston, Massachusetts 02210
                                              Attorneys for Defendant
   Phone: (617) 832-1000

   Dated: April 27, 2021




  {01683214;v1 }
Case 1:18-cv-01434-CFC-JLH Document 238 Filed 05/04/21 Page 2 of 7 PageID #: 13070




                                           TABLE OF CONTENTS

  I. Background ..........................................................................................................1
  II. Argument .............................................................................................................2




  {01683214;v1 }                                               i
Case 1:18-cv-01434-CFC-JLH Document 238 Filed 05/04/21 Page 3 of 7 PageID #: 13071




                                       TABLE OF AUTHORITIES

  Cases                                                                                                       Page


  Impression Products, Inc. v. Lexmark International, Inc.,
       137 S. Ct. 1523 (2017).................................................................................... 2

  Statutes
  35 U.S.C. § 271(a) .................................................................................................... 2




  {01683214;v1 }                                             ii
Case 1:18-cv-01434-CFC-JLH Document 238 Filed 05/04/21 Page 4 of 7 PageID #: 13072




           This Court has dismissed all claims of infringement brought by ChromaDex

  (for lack of standing) for activities that are alleged to have occurred on or after

  March 13, 2017. ChromaDex does not—and cannot—assert claims of

  infringement for activities alleged to have occurred before March 13, 2017.

  Elysium therefore is entitled to summary judgment on all claims asserted by

  ChromaDex, and ChromaDex should be dismissed from the case.

  I.       Background1

           In its Revised Order, dated December 17, 2020, this Court dismissed claims

  of infringement brought by ChromaDex for activities that are alleged to have

  occurred on or after March 13, 2017. D.I. 142. The Court thereafter denied

  ChromaDex’s motion for reargument. D.I. 181.

           ChromaDex does not allege that Elysium infringed any of the asserted

  claims before March 13, 2017. SF4-01. At a hearing before Magistrate Judge Hall

  in March, Plaintiffs acknowledged to that “[d]iscovery did not bear any

  infringement” prior to March 13, 2017. Ex. A at 18. Plaintiffs are not seeking any

  damages for alleged infringement prior to July 2017: Plaintiffs’ damages expert

  calculated damages only between July 2017 and December 2020. SF4-03. In his

  deposition, the expert testified that he used July 2017 as the hypothetical


  1
   For the facts material to this motion, see the accompanying Fourth Statement of
  Facts (“SF4”). Citations to exhibits (“Ex.”) refer to the exhibits attached thereto.


  {01683214;v1 }                             1
Case 1:18-cv-01434-CFC-JLH Document 238 Filed 05/04/21 Page 5 of 7 PageID #: 13073




  negotiation date because “That’s the time of first infringement.” Id. Before July

  2017, he testified, Elysium was “selling product that ChromaDex had sold them.”

  SF4-02.

           The undisputed evidence shows that all lots of the accused product, Basis®,

  sold before March 13, 2017 were made using nicotinamide riboside (“NR”)

  supplied by ChromaDex. A summary of all lots of NR used in Basis after Elysium

  stopped using NR supplied by ChromaDex shows that Elysium received its first

  lots of non-ChromaDex NR ingredient in

         . SF4-04.

  II.      Argument
           ChromaDex does not claim that Elysium infringed the asserted claims before

  March 13, 2017. It is undisputed that the lots of Basis sold before March 13, 2017

  used ChromaDex-supplied NR. These sales were authorized by ChromaDex and

  do not infringe. See 35 U.S.C. § 271(a); Impression Products, Inc. v. Lexmark

  International, Inc., 137 S. Ct. 1523, 1529 (2017).

           Because this Court has dismissed all of ChromaDex’s claims of

  infringement for activities alleged to have occurred on or after March 13, 2017,

  and ChromaDex does not—and cannot—assert infringement for activities alleged

  to have occurred before March 13, 2017, this Court should grant summary




  {01683214;v1 }                             2
Case 1:18-cv-01434-CFC-JLH Document 238 Filed 05/04/21 Page 6 of 7 PageID #: 13074




  judgment for Elysium on all claims brought by ChromaDex, dismissing

  ChromaDex from the case and leaving Dartmouth as the sole plaintiff.


   Of Counsel:                                  ASHBY & GEDDES
   Donald R. Ware
                                                /s/ Andrew C. Mayo
   dware@foleyhoag.com
                                                ___________________________
   Jeremy A. Younkin
                                                Steven J. Balick (#2114)
   jyounkin@foleyhoag.com
                                                Andrew C. Mayo (#5207)
   Marco J. Quina
                                                500 Delaware Avenue, 8th Floor
   mquina@foleyhoag.com
                                                P.O. Box 1150
   FOLEY HOAG LLP
                                                Wilmington, DE 19899
   155 Seaport Boulevard
                                                (302) 654-1888
   Boston, Massachusetts 02210
                                                sbalick@ashbygeddes.com
   Phone: (617) 832-1000
                                                amayo@ashbygeddes.com
   Dated: April 27, 2021
                                                Attorneys for Defendant




  {01683214;v1 }                         3
Case 1:18-cv-01434-CFC-JLH Document 238 Filed 05/04/21 Page 7 of 7 PageID #: 13075




                           CERTIFICATE OF COMPLIANCE

           This brief complies with the type, font and word limitations set forth in this

  Court’s Standing Order Regarding Briefing in All Cases, dated November 6, 2019.

  This brief contains 440 words (excluding the title page, table of contents, table of

  authorities, signature block, and certificate of compliance). This brief has been

  prepared in 14-point Times New Roman.

           Date: April 27, 2021



                                                  ASHBY & GEDDES

                                                  /s/ Andrew C. Mayo
                                                  ___________________________
                                                  Steven J. Balick (#2114)
                                                  Andrew C. Mayo (#5207)
                                                  500 Delaware Avenue, 8th Floor
                                                  P.O. Box 1150
                                                  Wilmington, DE 19899
                                                  (302) 654-1888
                                                  sbalick@ashbygeddes.com
                                                  amayo@ashbygeddes.com

                                                  Attorneys for Defendant




  {01683214;v1 }
